       4:22-cv-01235-JD         Date Filed 09/22/23        Entry Number 48     Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                                FLORENCE DIVISION

DHD JESSAMINE, LLC,                              )
                                                 )    Civil Action No.: 4:22-cv-01235-JD
                   Plaintiff,                    )
                                                 )
and                                              )
                                                 )
WILLIAM D. TALLEVAST, V,                         )     INTERVENOR-PLAINTIFF’S
                                                 ) DISCLOSURE     OF EXPERT WITNESSES
                   Intervenor- Plaintiff         )     UNDER RULE 26(a)(2), FRCP
                                                 )
vs.                                              )
                                                 )
FLORENCE COUNTY, SOUTH                           )
CAROLINA; FRANK J. BRAND; JASON                  )
SPRINGS; ROGER M. POSTON;                        )
ALPHONSO BRADLEY; JERRY W.                       )
YARBOROUGH; STONEY C. MOORE;                     )
WAYMON MUMFORD; and WILLARD                      )
DORRIETY, JR. as the elected members of          )
the FLORENCE COUNTY COUNCIL; and                 )
JOHN DOES 1-15,                                  )
                                                 )
                   Defendants.                   )
                                                 )
                                                 )

       Intervenor-Plaintiff William D. Tallevast, V., (“Intervenor-Plaintiff”), by and through his

counsel, submits this disclosure of expert witnesses in accordance with Rule 26(a)(2), FRCP,

who Intervenor-Plaintiff will or may call at trial in the above-captioned matter:

       1. Edward F. Hucks, MAI, SRA
          E.F. Hucks & Associates, Inc.
          3320 Highway 17 South
          Murrells Inlet, SC 29576
          (843) 443-3159

           A. Qualifications and Background: Please see pages 44 through 48 of the

               Appraisal Report attached hereto as Exhibit A.



                                             Page 1 of 2
       4:22-cv-01235-JD        Date Filed 09/22/23         Entry Number 48      Page 2 of 2




           B. Publications and Presentations with Last 10 Years: Please see pages 44

               through 48 of the Appraisal Report attached hereto as Exhibit A.

           C. Other Cases in which Witness has Testified at Trial or by Deposition During

               the Last Four Years: None.

           D. Statement of Compensation to be Paid: Please see pages 58 through 63 of the

               Appraisal Report attached hereto as Exhibit A.

           E. Statement of Opinions: Mr. Hucks is expected to testify, to reasonable degree of

               certainty, consistent with the Appraisal Report attached hereto as Exhibit A.

       2. Additional Designations

       Intervenor-Plaintiff also designates any experts designated by another party who are

qualified to present testimony and who are not objected to at trial by Intervenor-Plaintiff.

Intervenor-Plaintiff reserves the right to call experts designated above or other experts for

purposes of impeachment.

       Intervenor-Plaintiff reserves the right to supplement this disclosure as discovery

progresses, including but not limited to the depositions of any individuals yet to be deposed, and

the receipt of additional records or information.

                                              Respectfully submitted,

                                              s/ Ross A. Appel
                                              Ross A. Appel, Esq. (Fed Bar No. 11434)
                                              2036 eWall Street, Suite 200
                                              Mount Pleasant, SC 29464
                                              (843) 937-0400
                                              (843) 937-0706 (fax)
                                              ross@mklawsc.com

                                              ATTORNEYS FOR
                                              WILLIAM D. TALLEVAST, V
September 22, 2023
Charleston, South Carolina

                                             Page 2 of 2
